Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16    PageID.5972       Page 1 of 43



                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

                                   :
  IN RE: AUTOMOTIVE PARTS          :       Master File No. 12-md-02311
  ANTITRUST LITIGATION             :       Honorable Marianne O. Battani
                                   :
  IN RE: WIRE HARNESS              :       Case No. 2:12-cv-00103-MOB-MKM
                                   :
  IN RE: INSTRUMENT PANEL CLUSTERS         Case No. 2:12-cv-00203-MOB-MKM
                                   :
  IN RE: FUEL SENDERS              :       Case No. 2:12-cv-00303-MOB-MKM
  IN RE: HEATER CONTROL PANELS     :       Case No. 2:12-cv-00403-MOB-MKM
  IN RE: OCCUPANT SAFETY RESTRAINT :       Case No. 2:12-cv-00603-MOB-MKM
  SYSTEMS                          :
  IN RE: ALTERNATORS               :       Case No. 2:13-cv-00703-MOB-MKM
  IN RE: RADIATORS                 :       Case No. 2:13-cv-01003-MOB-MKM
                                   :
  IN RE: STARTERS                          Case No. 2:13-cv-01103-MOB-MKM
                                   :
  IN RE: SWITCHES                  :       Case No. 2:13-cv-01303-MOB-MKM
  IN RE: IGNITION COILS            :       Case No. 2:13-cv-01403-MOB-MKM
  IN RE: MOTOR GENERATORS          :       Case No. 2:13-cv-01503-MOB-MKM
  IN RE: STEERING ANGLE SENSORS    :       Case No. 2:13-cv-01603-MOB-MKM
  IN RE: HID BALLASTS              :       Case No. 2:13-cv-01703-MOB-MKM
                                   :       Case No. 2:13-cv-01803-MOB-MKM
  IN RE: INVERTERS
                                   :
  IN RE: AIR FLOW METERS                   Case No. 2:13-cv-02003-MOB-MKM
                                   :
  IN RE: FUEL INJECTION SYSTEMS    :       Case No. 2:13-cv-02203-MOB-MKM
  IN RE: AUTOMATIC TRANSMISSION    :       Case No. 2:13-cv-02403-MOB-MKM
  FLUID WARMERS                    :
  IN RE: VALVE TIMING CONTROL      :       Case No. 2:13-cv-02503-MOB-MKM
  DEVICES                          :
                                   :
  IN RE: ELECTRONIC THROTTLE               Case No. 2:13-cv-02603-MOB-MKM
                                   :
  BODIES
                                   :
                                   :
  THIS DOCUMENT RELATES TO:        :
  ALL END-PAYOR ACTIONS

                END-PAYOR PLAINTIFFS’ MOTION FOR FINAL APPROVAL
                   OF SETTLEMENTS WITH CERTAIN DEFENDANTS




                                       1
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                   PageID.5973      Page 2 of 43



                     Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, End-Payor

  Plaintiffs hereby respectfully move the Court for final approval of the settlements between the

  End-Payor Plaintiffs and certain defendants, which the Court previously preliminarily approved,

  and for final certification, pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3), for settlement

  purposes only, of the settlement classes previously provisionally certified by the Court.

  Dated: March 10, 2016                        By: /s/_Devon P. Allard_        _______
                                               E. Powell Miller
                                               Devon P. Allard
                                               THE MILLER LAW FIRM, P.C.
                                               950 W. University Dr., Ste. 300
                                               Rochester, Michigan 48307
                                               Telephone: (248) 841-2200
                                               Facsimile: (248) 652-2852
                                               epm@millerlawpc.com
                                               dpa@@millerlawpc.com

                                               Interim Liaison Counsel for the Proposed End-
                                               Payor Plaintiff Classes

                                               Steven N. Williams
                                               Demetrius X. Lambrinos
                                               Elizabeth Tran
                                               COTCHETT, PITRE & McCARTHY, LLP
                                               San Francisco Airport Office Center
                                               840 Malcolm Road, Suite 200
                                               Burlingame, CA 94010
                                               Telephone: (650) 697-6000
                                               Facsimile: (650) 697-0577
                                               swilliams@cpmlegal.com
                                               dlambrinos@cpmlegal.com
                                               etran@cpmlegal.com
                                               Hollis Salzman
                                               Bernard Persky
                                               William V. Reiss
                                               ROBINS KAPLAN LLP
                                               601 Lexington Avenue, Suite 3400
                                               New York, NY 10022
                                               Telephone: (212) 980-7400
                                               Facsimile: (212) 980-7499
                                               hsalzman@robinskaplan.com
                                               bpersky@robinskaplan.com
                                               wreiss@robinskaplan.com

                                               Marc M. Seltzer
                                               Steven G. Sklaver
                                               SUSMAN GODFREY L.L.P.

                                                   1
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16      PageID.5974    Page 3 of 43



                                    1901 Avenue of the Stars, Suite 950
                                    Los Angeles, CA 90067-6029
                                    Telephone: (310) 789-3100
                                    Facsimile: (310) 789-3150
                                    mseltzer@susmangodfrey.com
                                    ssklaver@susmangodfrey.com

                                    Terrell W. Oxford
                                    Omar Ochoa
                                    SUSMAN GODFREY L.L.P.
                                    901 Main Street, Suite 5100
                                    Dallas, TX 75202
                                    Telephone: (214) 754-1900
                                    Facsimile: (214)754-1933
                                    toxford@susmangodfrey.com
                                    oochoa@susmangodfrey.com
                                    Chanler A. Langham
                                    SUSMAN GODFREY L.L.P.
                                    1000 Louisiana Street, Suite 5100
                                    Houston, Texas 77002
                                    Telephone: (713) 651-9366
                                    Facsimile: (713) 651-6666
                                    clangham@susmangodfrey.com

                                    Interim Co-Lead Class Counsel for the Proposed
                                    End-Payor Plaintiff Classes




                                       2
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16    PageID.5975       Page 4 of 43




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

                                   :
  IN RE: AUTOMOTIVE PARTS          :       Master File No. 12-md-02311
  ANTITRUST LITIGATION             :       Honorable Marianne O. Battani
                                   :
  IN RE: WIRE HARNESS              :       Case No. 2:12-cv-00103-MOB-MKM
                                   :
  IN RE: INSTRUMENT PANEL CLUSTERS         Case No. 2:12-cv-00203-MOB-MKM
                                   :
  IN RE: FUEL SENDERS              :       Case No. 2:12-cv-00303-MOB-MKM
  IN RE: HEATER CONTROL PANELS     :       Case No. 2:12-cv-00403-MOB-MKM
  IN RE: OCCUPANT SAFETY RESTRAINT :       Case No. 2:12-cv-00603-MOB-MKM
  SYSTEMS                          :
  IN RE: ALTERNATORS               :       Case No. 2:13-cv-00703-MOB-MKM
  IN RE: RADIATORS                 :       Case No. 2:13-cv-01003-MOB-MKM
                                   :
  IN RE: STARTERS                          Case No. 2:13-cv-01103-MOB-MKM
                                   :
  IN RE: SWITCHES                  :       Case No. 2:13-cv-01303-MOB-MKM
  IN RE: IGNITION COILS            :       Case No. 2:13-cv-01403-MOB-MKM
  IN RE: MOTOR GENERATORS          :       Case No. 2:13-cv-01503-MOB-MKM
  IN RE: STEERING ANGLE SENSORS    :       Case No. 2:13-cv-01603-MOB-MKM
  IN RE: HID BALLASTS              :       Case No. 2:13-cv-01703-MOB-MKM
                                   :       Case No. 2:13-cv-01803-MOB-MKM
  IN RE: INVERTERS
                                   :
  IN RE: AIR FLOW METERS                   Case No. 2:13-cv-02003-MOB-MKM
                                   :
  IN RE: FUEL INJECTION SYSTEMS    :       Case No. 2:13-cv-02203-MOB-MKM
  IN RE: AUTOMATIC TRANSMISSION    :       Case No. 2:13-cv-02403-MOB-MKM
  FLUID WARMERS                    :
  IN RE: VALVE TIMING CONTROL      :       Case No. 2:13-cv-02503-MOB-MKM
  DEVICES                          :
                                   :
  IN RE: ELECTRONIC THROTTLE               Case No. 2:13-cv-02603-MOB-MKM
                                   :
  BODIES
                                   :
                                   :
  THIS DOCUMENT RELATES TO:        :
  ALL END-PAYOR ACTIONS

      END-PAYOR PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR
        FINAL APPROVAL OF SETTLEMENTS WITH CERTAIN DEFENDANTS




                                       1
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                PageID.5976      Page 5 of 43



                                        Statement of Issues


      1. Whether the settlements between the End-Payor Plaintiffs and certain defendants are fair,
         reasonable, and adequate and should be granted final approval under Fed. R. Civ. P. 23?

      2. Whether the Court should grant final certification of the End-Payor Plaintiffs settlement
         classes it previously provisionally certified?




                                                 i
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                PageID.5977     Page 6 of 43



                           Controlling or Most Appropriate Authorities

  Griffin v. Flagstar Bancorp, Inc., No. 2:10-cv-10610, 2013 WL 6511860 (E.D. Mich. Dec. 12,
  2013)

  In re Cardizem CD Antitrust Litig., 218 F.R.D. 508 (E.D. Mich. 2003)

  In re Packaged Ice Antitrust Litig., No. 08-MD-01952, 2011 WL 717519 (E.D. Mich. Feb. 22,
  2011)

  In re Scrap Metal Antitrust Litig., 527 F.3d 517 (6th Cir. 2008)

  In re Whirlpool Corp. Front-Loading Washer Prodcs. Liab. Litig., 722 F.3d 838 (6th Cir. 2013)

  Sheick v. Auto. Component Carrier LLC, No. 09-14429, 2010 WL 4136958 (E.D. Mich. Oct. 18,
  2010)

  Sprague v. General Motors Corp., 133 F.3d 388 (6th Cir. 1998)

  UAW v. General Motors Corp., 497 F.3d 615 (6th Cir. 2007)




                                                  ii
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                                                     PageID.5978               Page 7 of 43



                                                             Table of Contents



  Statement of Issues .......................................................................................................................... i

  Controlling or Most Appropriate Authorities ................................................................................. ii

  Table of Contents ........................................................................................................................... iii

  Table of Authorities .........................................................................................................................v

  Introduction ......................................................................................................................................1

  Background ......................................................................................................................................2

  I.         The Settlements Provide Substantial Benefits to EPPs........................................................2

             A.         Cash Components of the Settlements. .....................................................................2

             B.         Cooperation and Other Terms. .................................................................................4

  II.        The Notice Plan was Carried Out and Provided Adequate Notice of the
             Settlements. ..........................................................................................................................5

  III.       The Reaction of Settlement Class Members was Positive. ..................................................7

  Legal Standard .................................................................................................................................8

  Argument .......................................................................................................................................10

  IV.        The Settlements are Fair, Reasonable, and Adequate and Should be Given
             Final Approval. ..................................................................................................................10

             A.         The Likelihood of the EPPs’ Success on the Merits Weighed Against
                        the Relief Offered in the Settlements Supports Approval. ....................................11

             B.         The Complexity, Expense, and Likely Duration of Continued
                        Litigation Favor Final Approval. ...........................................................................13

             C.         The Judgment of Experienced Counsel Who Have Evaluated the
                        Strength of the Claims, Defenses, and Risks Supports Approval. .........................14

             D.         The Reaction of Class Members Weighs in Favor of Final Approval. ..................15

             E.         The Settlements are Consistent with the Public Interest. .......................................16

             F.         The Settlement Agreements are the Result of Thorough Arm’s Length
                        Negotiations Conducted by Highly Experienced Counsel.....................................16

                                                                          iii
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                                                   PageID.5979               Page 8 of 43



  V.         Notice of the Settlements was Proper Under Rule 23(e) and Satisfied All Due
             Process Requirements. .......................................................................................................17

  VI.        Certification of Settlement Classes is Appropriate. ...........................................................18

             A.         The Settlement Classes Satisfy Rule 23(a). ...........................................................19

                        1.         The Settlement Classes Are So Numerous That It Is
                                   Impracticable To Bring All Class Members Before The Court. ................19

                        2.         Common Questions of Law and Fact Exist. ..............................................20

                        3.         EPPs’ Claims are Typical of Those of the Settlement Classes. .................21

                        4.         EPP Class Representatives and Their Counsel Have Fairly and
                                   Adequately Represented the Interests of the Class Members. ...................22

             B.         EPPs’ Claims Satisfy the Prerequisites of Rule 23(b)(3) for Settlement
                        Purposes. ................................................................................................................24

                        1.         Common Legal and Factual Questions Predominate. ................................24

                        2.         Class Action Settlements Are Superior to Other Methods of
                                   Adjudication. ..............................................................................................26

  Conclusion .....................................................................................................................................27




                                                                         iv
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                                               PageID.5980              Page 9 of 43



                                                        Table of Authorities



  Cases
  Amchem Prods., Inc. v. Windsor,
    521 U.S. 591 (1997) ..................................................................................................... 18, 24, 27

  Amgen Inc. v. Conn. Ret. Plans and Tr. Funds,
    133 S.Ct. 1184 (2013) .............................................................................................................. 25

  Bacon v. Honda of America Mfg., Inc.,
    370 F.3d 565 (6th Cir. 2004) ................................................................................................... 19

  Beanie v. CenturyTel, Inc.,
    511 F.3d 554 (6th Cir. 2007) ................................................................................................... 24

  Berry v. Sch. Dist. of City of Benton Harbor,
     184 F.R.D. 93 (W.D. Mich. 1998) ........................................................................................... 10

  Carson v. Am. Brands, Inc.,
    450 U.S. 79 (1981) ..................................................................................................................... 9

  Cason-Merenda v. VHS of Mich., Inc.,
    296 F.R.D. 528 (E.D. Mich. 2013) .............................................................................. 21, 22, 25

  Comcast Corp. v. Behrend,
    133 S.Ct. 1426 (2013) .............................................................................................................. 25

  Date v. Sony Electronics, Inc.,
    No. 07-15474, 2013 WL 3945981 (E.D. Mich. Jul. 31, 2013) .................................... 14, 19, 22

  Dick v. Spring Commc’ns,
     297 F.R.D. 283 (W.D. Ky. 2014)......................................................................................... 9, 14

  Eisen v. Carlisle & Jacquelin,
     417 U.S. 156 (1974) ................................................................................................................. 17

  Fidel v. Farley,
     534 F.3d 508 (6th Cir. 2008) ................................................................................................... 18

  Fussell v. Wilkinson,
    No. 1:03-cv-704, 2005 WL 3132321 (S.D. Ohio Nov. 22, 2005) ........................................... 10

  Girsh v. Jepson,
     521 F.2d 153 (3d Cir. 1975)....................................................................................................... 9



                                                                       v
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                                          PageID.5981             Page 10 of 43



  Golden v. City of Columbus,
    404 F.3d 950 (6th Cir. 2005) ................................................................................................... 19

  Grenada Invs., Inc. v. DWG Corp.,
    962 F.2d 1203 (6th Cir. 1992) ........................................................................................... 11, 16

  Griffin v. Flagstar Bancorp, Inc.,
     No. 2:10-cv-10610, 2013 WL 6511860 (E.D. Mich. Dec. 12, 2013) ............................... passim

  Grunin v. Int’l House of Pancakes,
    513 F.2d 114 (8th Cir. 1975) ................................................................................................... 18

  In re Am. Med. Sys., Inc.,
     75 F.3d 1069 (6th Cir. 1996) ............................................................................................. 19, 22

  In re Auto. Refinishing Paint Antitrust Litig.,
     617 F. Supp. 2d. 336 (E.D. Pa. 2007) ................................................................................ 14, 16

  In re Automotive Refinishing Paint Antitrust Litig.,
     MDL No. 1426, 2003 WL 23316645 (E.D. Pa. Sept. 5, 2003) ................................................. 9

  In re Cardizem CD Antitrust Litig.,
     200 F.R.D. 297 (E.D. Mich. 2001) .................................................................................... 25, 27

  In re Cardizem CD Antitrust Litig.,
     218 F.R.D. 508 (E.D. Mich. 2003) ................................................................................... passim

  In re Corrugated Container Antitrust Litig.,
     643 F.2d 195 (5th Cir. 1981) ................................................................................................... 23

  In re Countrywide Fin. Corp. Customer Data Sec. Breach Litig.,
     No. 3:08-MD01998, 2010 WL 3341200 (W.D. Ky. Aug. 23, 2010) ...................................... 14

  In re Delphi Corp. Sec., Deriv. & ................................................................................................. 14

  In re Domestic Air Transp. Antitrust Litig.,
     141 F.R.D. 534 (N.D. Ga. 1992) .............................................................................................. 18

  In re Dynamic Random Access Memory (DRAM) Antitrust Litig., No. M 02-1486 ,
     2006 U.S. Dist. LEXIS 39841 (N.D. Cal. June 5, 2006) .......................................................... 20

  In re Flat Glass Antitrust Litig.,
     191 F.R.D. 472 (W.D. Pa. 1999) ....................................................................................... 20, 21

  In re Flonase Antitrust Litig.,
     284 F.R.D. 207 (E.D. Pa. 2012) ............................................................................................... 27

  In re Foundry Resins Antitrust Litig.,
     242 F.R.D. 393 (S.D. Ohio 2007) .......................................................................... 19, 21, 22, 25

                                                                   vi
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                                       PageID.5982            Page 11 of 43



  In re Global Crossing Sec. & ERISA Litig.,
     225 F.R.D. 436 (S.D.N.Y. 2004) ............................................................................................. 15

  In re Linerboard Antitrust Litig.,
     292 F. Supp. 2d 631 (E.D. Pa. 2003) ....................................................................................... 12

  In re NASDAQ Market-Makers Antitrust Litig.,
     169 F.R.D. 493 (S.D.N.Y 1996) .............................................................................................. 27

  In re Packaged Ice Antitrust Litig.,
     No. 08-MD-01952, 2010 WL 3070161 (E.D. Mich. Aug. 2, 2010) .................................... 8, 15

  In re Packaged Ice Antitrust Litig.,
     No. 08-MD-01952, 2011 WL 717519 (E.D. Mich. Feb. 22, 2011) .................................. passim

  In re Potash Antitrust Litig.,
     159 F.R.D. 682 (D. Minn. 1995).............................................................................................. 25

  In re Pressure Sensitive Labelstock Antitrust Litig.,
     584 F. Supp. 2d 697 (M.D. Pa. 2008) ...................................................................................... 12

  In re Prudential Sec. Inc. Ltd. P’ships Litig.,
     164 F.R.D. 362 (S.D.N.Y. 1996) ............................................................................................. 18

  In re Residential Doors Antitrust Litig.,
     No. 94–3744, Civ.A. 96–2125, MDL 1039, 1998 WL 151804 (E.D. Pa. April 2, 1998) ....... 16

  In re Scrap Metal Antitrust Litig.,
     527 F.3d 517 (6th Cir. 2008) ....................................................................................... 24, 25, 26

  In re Southeastern Milk Antitrust Litig.,
     No. 2:08-md-1000, 2010 WL 3521747 (E.D. Tenn. Sept. 7, 2010) ........................................ 25

  In Re Telectronics Pacing Sys. Inc.,
     137 F. Supp. 2d 985 (S.D. Ohio 2001) ............................................................................ 8, 9, 11

  In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig.,
     722 F.3d 838 (6th Cir. 2013) ....................................................................................... 19, 24, 26

  Int’l Union, United Auto., Aerospace & Agric. Implement Workers of Am. v. Ford Motor Co.,
     No. 05-74730, 2006 WL 1984363 (E.D. Mich. July 13, 2006) ........................................ passim

  IUE–CWA v. Gen. Motors Corp.,
    238 F.R.D. 583 (E.D. Mich. 2006) ............................................................................ 8, 9, 11, 12

  Lessard v. City of Allen Park,
     372 F. Supp. 2d 1007 (E.D. Mich. 2005) ................................................................................... 8



                                                                 vii
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                                             PageID.5983              Page 12 of 43



  Levya v. Medline Indus, Inc.,
     716 F.3d 510 (9th Cir. 2013) ................................................................................................... 25

  Marcus v. Dep’t of Revenue,
    206 F.R.D. 509 (D. Kan. 2002)................................................................................................ 23

  Miller v. Univ. of Cincinnati,
     241 F.R.D. 285 (S.D. Ohio 2006) ............................................................................................ 19

  Mullane v. Cent. Hanover Bank & Trust Co.,
    339 U.S. 306 (1950) ........................................................................................................... 17, 18

  New England Health Care Employees Pension Fund v. Fruit of the Loom, Inc.,
    234 F.R.D. 627 (W.D. Ky. 2006)............................................................................................... 9

  Paper Systems Inc. v. Mitsubishi Corp.,
    193 F.R.D. 601 (ED. Wis. 2000) ............................................................................................. 27

  Peters v. Nat’l R.R. Passenger Corp.,
     966 F.2d 1483 (D.C. Cir. 1992) ............................................................................................... 17

  Phillips Petroleum Co. v. Shutts,
     472 U.S. 797 (1985) ................................................................................................................. 17

  Powers v. Hamilton Cnty. Public Defender Comm.,
    501 F.3d 595 (6th Cir. 2007) ................................................................................................... 25

  Senter v. Gen. Motors Corp.,
     532 F.2d 511 (6th Cir. 1976) ................................................................................................... 22

  Sheick v. Auto. Component Carrier LLC,
     No. 09-14429, 2010 WL 4136958 (E.D. Mich. Oct. 18, 2010) ........................................ passim

  Sprague v. General Motors Corp.,
     133 F.3d 388 (6th Cir. 1998) ................................................................................................... 19

  Stoetzner v. U.S. Steel Corp.,
     897 F.2d 115 (3d Cir. 1990)..................................................................................................... 15

  Stout v. J.D. Byrider,
     228 F.3d 709 (6th Cir. 2000) ................................................................................................... 22

  Sullivan v. DB Investments, Inc.,
     667 F.3d 273 (3d Cir. 2011)..................................................................................................... 10

  TBK Partners, Ltd. v. Western Union Corp.,
    675 F.2d 456 (2d Cir. 1982)..................................................................................................... 15



                                                                     viii
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                                                PageID.5984              Page 13 of 43



  Thacker v. Chesapeake Appalachia, LLC,
    259 F.R.D. 262 (E.D. Ky. 2009) .............................................................................................. 19

  UAW v. General Motors Corp.,
    497 F.3d 615 (6th Cir. 2007) ............................................................................................ passim

  Van Horn v. Trickey,
    840 F.2d 604 (8th Cir. 1988) ..................................................................................................... 9

  Williams v. Vukovich,
     720 F.2d 909 (6th Cir. 1983) ......................................................................................... 8, 13, 14

  Rules
  Fed. R. Civ. P. 23 .................................................................................................................... 10, 18

  Fed. R. Civ. P. 23(a)(3) ........................................................................................................... 21, 22

  Fed. R. Civ. P. 23(a)(4) ................................................................................................................. 22

  Fed. R. Civ. P. 23(b)(2) ............................................................................................................... 19

  Fed. R. Civ. P. 23(c)(2)(B) ........................................................................................................... 17

  Fed. R. Civ. P. 23(e)(1) ................................................................................................................. 17

  Fed. R. Civ. P. 23(a) ......................................................................................................... 19, 22, 24

  Fed. R. Civ. P. 23(a)(1) ................................................................................................................. 19

  Fed. R. Civ. P. 23(a)(2) ................................................................................................................. 20

  Fed. R. Civ. P. 23(b) ..................................................................................................................... 19

  Fed. R. Civ. P. 23(b)(3).......................................................................................................... passim

  Fed. R. Civ. P. 23(c)(3) ................................................................................................................. 17

  Fed. R. Civ. P. 23(e) ................................................................................................................... 17

  Fed. R. Civ. P. 23(g) ..................................................................................................................... 23

  Other Authorities
  4 NEWBERG ON CLASS ACTIONS § 18.05....................................................................................... 20

  MANUAL FOR COMPLEX LITIGATION (Fourth) § 21.311, at 288 (2004) ........................................ 18

  NEWBERG § 3:10 at 278 ................................................................................................................ 20

                                                                       ix
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.5985        Page 14 of 43




                                              Introduction

          The End-Payor Plaintiffs (“EPPs”) respectfully seek final approval of the settlements

  reached with the settling defendants described below.

          These settlements collectively make available nearly $225 million in cash for the benefit

  of the settlement classes and also require the settling defendants to provide significant

  cooperation to the EPPs in the continued prosecution of EPPs’ claims against the non-settling

  defendants. The settlements also provide that certain of the settling defendants will not engage in

  certain specified conduct for a period of two years that would violate the antitrust laws involving

  the automotive parts that are at issue in these lawsuits.

          As explained below, the settlements provide for an excellent result for the classes in light

  of the substantial risks of litigation. In negotiating the settlements, Settlement Class Counsel for

  the EPPs generally took into account the evidence supporting EPPs’ claims, the dollar volume of

  commerce affected by the particular settling defendant’s conduct, the defenses that the settling

  defendants had and were expected to raise, and the substantial value provided by the settling

  defendants’ agreements to cooperate with the EPPs’ in the continued prosecution of their claims

  against the non-settling defendants. EPPs therefore respectfully submit that the proposed

  settlements are fair, reasonable, and adequate, and should be granted final approval.

          Notice of these settlements, as required by Rule 23 and in compliance with this Court’s

  orders, was provided through the notice plan approved by the Court. See, e.g., Case No. 12-cv-

  00103, ECF No. 421. The response from the members of the settlement classes has been positive

  to date. There have been no objections to the settlements thus far, nor have there been any

  requests for exclusion by any class members.




                                                    1
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                 PageID.5986      Page 15 of 43



          To effectuate the settlements, it is also respectfully submitted that the Court should

  certify the settlement classes it provisionally certified in its preliminary approval orders. The

  classes meet all of the requirements for certification as settlement classes and should be granted

  final certification. The Court should also confirm the appointment of Settlement Class Counsel.

                                            Background

  I.      The Settlements Provide Substantial Benefits to EPPs.

          A.         Cash Components of the Settlements.

          The Court previously preliminarily approved each of the settlements (the “Settlements”)

  between EPPs and a number of the settling defendants (collectively, the “Settling Defendants”).

  Those Settlements are now before the Court for final approval. The Settling Defendants are:

  Nippon Seiki Company Ltd., N.S. International, Ltd., and New Sabina Industries, Inc.

  (collectively, “Nippon Seiki”); Lear Corporation (“Lear”); Kyungshin-Lear Sales and

  Engineering, LLC (“KL Sales”); Autoliv, Inc., Autoliv ASP, Inc., Autoliv B.V. & Co. KG,

  Autoliv Safety Technology, Inc., and Autoliv Japan Ltd (collectively, “Autoliv”); TRW

  Deutschland Holding GmbH and ZF TRW Automotive Holdings Corp. (f/k/a TRW Automotive

  Holdings Corp.) (collectively, “TRW”); Yazaki Corporation and Yazaki North America, Inc.

  (collectively, “Yazaki”); Panasonic Corporation and Panasonic Corporation of North America

  (collectively, “Panasonic”); Hitachi Automotive Systems, Ltd. (“HIAMS”); T. RAD Co., Ltd.

  and T.RAD North America, Inc. (collectively, “T.RAD”); Fujikura Ltd. and Fujikura

  Automotive America LLC (collectively, “Fujikura”), and Sumitomo Electric Industries, Ltd.,

  Sumitomo Wiring Systems, Ltd.; Sumitomo Electric Wiring Systems, Inc. (incorporating K&S

  Wiring Systems, Inc.); Sumitomo Wiring Systems (U.S.A.) Inc. (collectively, “Sumitomo”).

          The Settlements involve nine defendants and their affiliates and nineteen automotive

  parts (the “Settled Parts”) that EPPs contend were the subject of illegal bid rigging and price-

                                                  2
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.5987      Page 16 of 43



  fixing. For the Settlements currently before the Court, the Settling Defendants, Settled Parts, and

  settlement amounts are as follow:

  Settling           Automotive Parts Case                                Settlement Fund
  Defendant
  Autoliv            Occupant Safety Systems                                   $19,000,000
  Fujikura           Automotive Wire Harness Systems                            $7,144,000
  HIAMS              Air Flow Meters                                            $5,047,920
                     Alternators                                                $6,216,420
                     Electronic Throttle Bodies                                 $6,870,780
                     Fuel Injection Systems                                     $8,693,640
                     Ignition Coils                                             $7,431,660
                     Inverters                                                  $2,337,000
                     Motor Generators                                           $2,337,000
                     Starters                                                   $3,832,680
                     Valve Timing Control Devices                               $3,972,900
  KL Sales           Automotive Wire Harness Systems                              $228,000
  Lear               Automotive Wire Harness Systems                            $3,040,000
  Nippon Seiki       Instrument Panel Clusters                                  $4,560,000
  Panasonic          HID Ballasts                                               $5,510,596
                     Steering Angle Sensors                                     $6,293,229
                     Switches                                                   $5,296,175
  Sumitomo           Automotive Wire Harness Systems                           $35,817,220
                     Heater Control Panels                                      $2,182,780
  T.RAD              ATF Warmers                                                  $741,000
                     Radiators                                                  $6,669,000
  TRW                Occupant Safety Systems                                    $5,446,350
  Yazaki             Automotive Wire Harness Systems                           $73,267,000
                     Fuel Senders                                                  $58,000
                     Instrument Panel Clusters                                  $2,675,000
                     TOTAL                                                    $224,668,350


           Because of the different parts involved, there are twenty-five settlement classes (the

  “Settlement Classes”). As part of the settlement negotiations, EPPs generally considered the

  evidence regarding the defendants’ conduct, the estimated dollar amount of commerce affected

  by that conduct, and the value of the other settlement terms, including, most particularly, the

  value of discovery cooperation offered by the Settling Defendants. See Joint Declaration of

                                                  3
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                PageID.5988      Page 17 of 43



  Steven N. Williams, Hollis Salzman, and Marc M. Seltzer in Support of End-Payor Plaintiffs’

  Motion for Final Approval of Settlement with Certain Defendants and for Certification of

  Settlement Classes (“Joint Decl.”), filed concurrently herewith as Exhibit 1. In the opinion of

  Settlement Class Counsel, the Settlements are an excellent result for the Settlement Classes and

  are fair, reasonable, and adequate. Id.

          B.         Cooperation and Other Terms.

          As noted above, in addition to very substantial cash payments, the Settling Defendants

  are required to provide EPPs with various forms of cooperation, including (1) producing

  documents and data relevant to the ongoing claims of the EPPs against the non-settling

  defendants; (2) making witnesses available for interviews with EPP representatives; (3)

  providing assistance in understanding certain data and other information produced to EPPs; and

  (4) facilitating the use of such data and information at trial. Those terms were described in the

  preliminary approval motions and are set forth at length in the settlement agreements between

  the parties (the “Settlement Agreements”). Certain of the Settling Defendants have also agreed

  not to engage in certain specified conduct for a period of two years that would violate the

  antitrust laws involving the Settled Parts.

          In exchange for the settlement payments, and cooperation, the Settlements provide for the

  release of “Released Claims” against Settling Defendants and other “Releasees” (as defined in

  the Settlement Agreements). The Settlement Agreements will not affect other current or future

  defendants’ joint and several liability for the Settling Defendants’ alleged wrongdoing. Each of

  the Settling Defendants’ sales remain in their respective cases, and the non-settling defendants—

  other than those who are ultimately entitled to the reduced liability provisions of the Antitrust

  Criminal Penalty Enhancement and Reform Act—remain jointly and severally liable for

  damages applicable to those sales, less only the amounts paid in settlement. Thus, the Settlement

                                                  4
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                 PageID.5989      Page 18 of 43



  Agreements will not limit the Settlement Classes’ right to recover the full amount of the damages

  available under the law from the non-settling defendants, against whom EPPs continue to

  prosecute their claims.

          The Settlement Agreements are the product of lengthy negotiations between counsel very

  experienced in prosecuting and defending complex antitrust class action cases. The Settlement

  Agreements were all negotiated over an extended period of time by Settlement Class Counsel

  and Settling Defendants’ counsel, through in-person and telephonic meetings and

  correspondence, assisted in several instances, by experienced mediators. In preparation for such

  negotiations, Settlement Class Counsel undertook a diligent and thorough investigation of the

  legal and factual issues presented by this litigation. Thus, Settlement Class Counsel were well

  informed as to the facts of the case and the strength and weaknesses of the claims asserted by the

  EPPs when the Settlement Agreements were negotiated.

  II.     The Notice Plan was Carried Out and Provided Adequate Notice of the Settlements.

          The Settlements provide substantial cash benefits to consumers and other class members

  who purchased or leased new motor vehicles not for resale containing the automotive parts

  subject to the settlements, or indirectly purchased one or more of those automotive parts as a

  replacement part, in jurisdictions that allow EPPs to seek money damages or restitution: Arizona,

  Arkansas, California, District of Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine,

  Massachusetts, Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New

  Hampshire, New Mexico, New York, North Carolina, North Dakota, Oregon, South Carolina,

  South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin (the “IPP States”).

          Through a preeminent class action notice consultant, Kinsella Media, LLC (“Kinsella”),

  EPPs implemented a class-notice program utilizing paid and earned media. Kinsella used

  syndicated data available from the GfK MediaMark Research, Inc.’s (“GfK MRI”) 2015

                                                  5
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                PageID.5990      Page 19 of 43



  Doublebase Study1 to select a target audience with demographics that encompass the

  characteristics of members of the Settlement Classes. See Case No. 12-cv-00103, ECF No. 414.

  The multi-faceted class notice program included published notice in publications like Sports

  Illustrated, Time, The Wall Street Journal and Automotive News, and online media efforts

  through banner advertisements on outlets like Facebook and Yahoo!. See Interim Declaration of

  Katherine Kinsella (“Kinsella Decl.”), filed concurrently herewith as Exhibit 2. To date,2 these

  banner advertisements have delivered a total estimated 304,136,564 gross impressions.3 Id. The

  banner advertisements will run until March 20, 2016 across the partner websites. Id. At a

  minimum, the total number of planned gross impressions, which is 337,849,000, will be reached.

  The earned media component of this notice program included multimedia news release (“MNR”)

  distributed on PR Newswire’s US1 National Circuit on February 16, 2016. Id. As of March 8,

  2016, the release was republished across 252 news websites and received over 14,487 views. Id.

  A total of 421 journalists engaged with the MNR. Id. This engagement contributed to coverage

  of the Settlements in major national outlets including: Reuters, USA Today, NBC Money,

  1
    GfK MRI is a nationally accredited media and marketing research firm that provides syndicated
  data on audience size, composition, and other relevant factors pertaining to major media,
  including broadcast, magazines, newspapers, and outdoor advertising. It provides a single-
  source measurement of major media, products, services, and in-depth consumer demographic
  and lifestyle/psychographic characteristics. GfK MRI produces the annual Doublebase Survey, a
  study of over 50,000 adults consisting of two full years of data. The sample consists of over
  26,000 respondents. Fieldwork is done in two waves per year, each lasting six months and
  consisting of 13,000 interviews. At the end of the interview, the fieldworker presents a self-
  administered questionnaire that measures approximately 500 product/service categories, 6,000
  brands, and various lifestyle activities.
  2
   Kinsella has submitted an interim declaration at the request of Settlement Class Counsel for the
  purposes of this motion. Kinsella will submit a final declaration once the notice program has
  completed.
  3
    Gross impressions are the total number of times a media vehicle containing the Notice is seen.
  This figure does not represent the total number of unique viewers of the Notice, as some viewers/
  readers will see the Notice in more than one media vehicle.

                                                 6
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                 PageID.5991       Page 20 of 43



  Consumer Reports, and Automotive Weekly. Id. Other earned media efforts included statewide

  press releases in the IPP States as well as outreach to 411 national and local reporters for print

  and television that generated two national news stories and 19 local outlet reprints. Id. Media

  outreach will continue through May 11, 2016. Id. Also, beginning on February 8, 2016, Kinsella

  registered sponsored keywords and phrases (e.g., “Auto Parts Settlement”) with all major search

  engines, including Google AdWords, Bing Microsoft Advertising, and their search partners. Id.

          Members of the Settlement Classes also can contact a toll-free helpline or register online

  at the settlement website, www.AutoPartsClass.com, both of which are maintained by Garden

  City Group, LLC (“GCG”). See Interim Declaration of Lori Castaneda (“GCG Decl.”), filed

  concurrently herewith as Exhibit 3. The website provides answers to frequently asked questions,

  important deadlines, a list of the Settling Defendants, as well as provides access to documents

  relevant to the settlements, including the long form notice. Id. The website has been operational

  since October 12, 2015, and is accessible 24 hours a day, seven days a week. Id. As of March 8,

  2016, the website has received visits from 503,380 unique visitors. Id.

  III.    The Reaction of Settlement Class Members was Positive.

          The reaction of EPP class members to these Settlements has been positive thus far. The

  deadline for submission of objections to the proposed settlements or requests for exclusion from

  the Settlement Classes is April 11, 2016. To date, there are no objections to any of the

  Settlements, no class members have requested to be excluded from the Settlement Classes, and

  no class members have requested an opportunity to be heard at the final fairness hearing. Id.4




  4
    GCG will provide a final declaration that includes the total number of objections and requests
  for exclusion received as of the conclusion of the notice program.

                                                  7
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                    PageID.5992        Page 21 of 43



                                            Legal Standard

          The Sixth Circuit and courts in the Eastern District of Michigan “have recognized that the

  law favors the settlement of class action lawsuits.” Griffin v. Flagstar Bancorp, Inc., No. 2:10-

  cv-10610, 2013 WL 6511860, at *2 (E.D. Mich. Dec. 12, 2013); see also In re Packaged Ice

  Antitrust Litig., No. 08- MD-01952, 2011 WL 717519, at *7 (E.D. Mich. Feb. 22, 2011); UAW v.

  General Motors Corp., 497 F.3d 615, 632 (6th Cir. 2007) (federal policy favors settlement of

  class actions). “Given that class settlements are favored, the role of the district court is limited to

  the extent necessary to reach a reasoned judgment that the agreement is not the product of fraud

  or overreaching by, or collusion between, the negotiating parties, and that the settlement taken as

  a whole, is fair, reasonable and adequate to all concerned.” IUE–CWA v. Gen. Motors Corp., 238

  F.R.D. 583, 594 (E.D. Mich. 2006) (internal quotation marks and citations omitted).

          To be given final approval, a class action settlement must be “fair, reasonable, and

  adequate.” Sheick v. Auto. Component Carrier LLC, No. 2:09-cv-14429, 2010 WL 4136958, at

  *14 (E.D. Mich. Oct. 18, 2010); see also Packaged Ice, 2011 WL 717519, at *8. “There are three

  steps which must be taken by the court in order to approve a settlement: (1) the court must

  preliminarily approve the proposed settlement, (2) members of the class must be given notice of

  the proposed settlement, and (3) after holding a hearing, the court must give its final approval of

  the settlement.” In Re Telectronics Pacing Sys. Inc., 137 F. Supp. 2d 985, 1026 (S.D. Ohio 2001)

  (citing Williams v. Vukovich, 720 F.2d 909, 921 (6th Cir. 1983)); In re Packaged Ice Antitrust

  Litig., No. 08-MD-01952, 2010 WL 3070161, at *4 (E.D. Mich. Aug. 2, 2010).

          The court considers whether the proposed settlement is “fair, adequate, and reasonable to

  those it affects and whether it is in the public interest.” Lessard v. City of Allen Park, 372 F.

  Supp. 2d 1007, 1009 (E.D. Mich. 2005) (citing Vukovich, 720 F.2d at 921-23). This

  determination requires consideration of “whether the interests of the class as a whole are better

                                                    8
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.5993      Page 22 of 43



  served if the litigation is resolved by the settlement rather than pursued.” In re Cardizem CD

  Antitrust Litig., 218 F.R.D. 508, 522 (E.D. Mich. 2003) (citation omitted); Sheick, 2010 WL

  4136958, at *14-15.

          The court has broad discretion when approving a class action settlement. UAW, 497 F.3d

  at 636; Girsh v. Jepson, 521 F.2d 153, 156 (3d Cir. 1975). In exercising this discretion, courts

  give considerable weight and deference to the view of experienced counsel as to the merits of an

  arm’s-length settlement. Dick v. Spring Commc’ns, 297 F.R.D. 283, 297 (W.D. Ky. 2014) (“The

  Court defers to the judgment of the experienced counsel associated with the case, who have

  assessed the relative risks and benefits of litigation.”). Indeed, a “presumption of fairness,

  adequacy, and reasonableness may attach to a class settlement reached in arm’s length

  negotiations between experienced, capable counsel after meaningful discovery.” New England

  Health Care Employees Pension Fund v. Fruit of the Loom, Inc., 234 F.R.D. 627, 632 (W.D. Ky.

  2006) (citations omitted); see also In re Automotive Refinishing Paint Antitrust Litig., MDL No.

  1426, 2003 WL 23316645, at *6 (E.D. Pa. Sept. 5, 2003).

          Because a settlement represents an exercise of judgment by the negotiating parties, a

  judge reviewing a settlement will not “substitute his or her judgment for that of the litigants and

  their counsel,” IUE-CWA v. General Motors Corp., 238 F.R.D. 583, 593 (E.D. Mich. 2006), or

  “decide the merits of the case or resolve unsettled legal questions.” Carson v. Am. Brands, Inc.,

  450 U.S. 79, 88 n. 14 (1981). There are two reasons for this. First, the object of settlement is to

  avoid the determination of contested issues, so the approval process should not be converted into

  an abbreviated trial on the merits. Van Horn v. Trickey, 840 F.2d 604, 607 (8th Cir. 1988).

  Second, “[b]eing a preferred means of dispute resolution, there is a strong presumption by courts

  in favor of settlement.” Telectronics, 137 F. Supp. 2d at 1008-09 (citing Manual (Third) §30.42



                                                  9
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                    PageID.5994       Page 23 of 43



  (1995)). This is particularly true in the case of class actions. Berry v. Sch. Dist. of City of Benton

  Harbor, 184 F.R.D. 93, 97 (W.D. Mich. 1998).

          Because of the uncertainties and risks inherent in any litigation, courts take a common

  sense approach and approve class action settlements if they fall within a “range of

  reasonableness.” Sheick, 2010 WL 4136958, at *15 (citation omitted). The court should guard

  against demanding too large a settlement, because a settlement “represents a compromise in

  which the highest hopes for recovery are yielded in exchange for certainty and resolution.” Int’l

  Union, United Auto., Aerospace & Agric. Implement Workers of Am. v. Ford Motor Co., No. 05-

  74730, 2006 WL 1984363, at *23 (E.D. Mich. July 13, 2006) (citation omitted); accord Sullivan

  v. DB Investments, Inc., 667 F.3d 273, 324 (3d Cir. 2011).

          Finally, this Court has preliminarily approved the Settlement Agreements and

  “preliminary approval gives rise to a presumption that the settlement is fair, reasonable and

  adequate,” particularly in the absence of objections by class members. See Fussell v. Wilkinson,

  No. 1:03-cv-704, 2005 WL 3132321 at *3 (S.D. Ohio Nov. 22, 2005).

                                               Argument

  IV.     The Settlements are Fair, Reasonable, and Adequate and Should be Given Final
          Approval.

          The EPP settlements before the Court meet the criteria required for final approval under

  Rule 23 of the Federal Rules of Civil Procedure. They provide meaningful benefits and were

  reached after negotiations between experienced counsel who had sufficient background about the

  merits and defenses to the claims asserted. The settlements reflect a reasonable compromise in

  light of the liability, damages, and procedural uncertainties facing both the EPPs and the Settling

  Defendants.




                                                   10
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                    PageID.5995       Page 24 of 43



          Courts in the Sixth Circuit consider a number of factors when determining whether a

  settlement should be granted final approval: (1) the likelihood of success on the merits weighed

  against the amount and form of the relief offered in the settlement; (2) the complexity, expense,

  and likely duration of further litigation; (3) the opinions of class counsel and class

  representatives; (4) the amount of discovery engaged in by the parties; (5) the reaction of absent

  class members; (6) the risk of fraud or collusion; and (7) the public interest. Packaged Ice, 2011

  WL 717519, at *8; see also UAW, 497 F.3d at 631; Griffin, 2013 WL 6511860, at *3; Cardizem,

  218 F.R.D. at 522. No single factor is determinative and the court may weigh each factor based

  on the circumstances of the case. Int’l Union, 2006 WL 1984363, at *21. The court may “choose

  to consider only those factors that are relevant to the settlement at hand.” Id. at *22; see also

  Grenada Invs., Inc. v. DWG Corp., 962 F.2d 1203, 1205-06 (6th Cir. 1992) (holding that a

  district court enjoys wide discretion in assessing the weight and applicability of factors).

          A.         The Likelihood of the EPPs’ Success on the Merits Weighed Against the
                     Relief Offered in the Settlements Supports Approval.

          The court assesses class action settlements “with regard to a ‘range of reasonableness,’

  which ‘recognizes the uncertainties of law and fact in any particular case and the concomitant

  risks and costs inherent in taking any litigation to completion.’” Sheick, 2010 WL 4136958, at

  *15 (quoting IUE-CWA, 238 F.R.D. at 594); Int’l Union, 2006 WL 1984363, at *21. This is

  especially true for class actions, since they are “inherently complex.” In re Telectronics Pacing

  Sys., Inc., 137 F. Supp. 2d 985, 1013 (S.D. Ohio 2001). “[S]ettlement avoids the costs, delays,

  and multitude of other problems associated with them.” Id. The fairness of such a settlement

  “turns in large part on the bona fides of the parties’ legal dispute.” UAW, 497 F.3d at 631.

  When considering the likelihood of plaintiffs’ success on the merits of the litigation, the

  ultimate question is whether the interests of the class as a whole are better served if the litigation


                                                   11
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.5996       Page 25 of 43



  is resolved by settlement rather than pursued. Sheick, 2010 WL 4136958, at *16 (citing IUE-

  CWA, 238 F.R.D. at 595).

          EPPs believe they will prevail in these cases. Many of the Settling Defendants pleaded

  guilty to the very conduct alleged by EPPs in their complaints. But EPPs also recognize that

  success at trial is not guaranteed. Although illegal conspiracies existed to coordinate bidding and

  other activities concerning the Settled Parts, the settling and non-settling Defendants have

  vigorously defended these cases. Absent the Settlements, the Settling Defendants would have

  opposed EPP’s motions for class certification; if that challenge failed, they would have moved

  for summary judgment of numerous issues; if that challenge failed, they would have offered

  numerous defenses to the EPPs’ claims at trial. Even if EPPs successfully established that the

  Settling Defendants conspired to fix prices and rig bids, the Settling Defendants would offer

  expert testimony suggesting that damages were far less than sought by EPPs. EPPs dispute these

  arguments and believe they would prevail if the case proceeded to trial. But the Settlements

  avoid the risks of further litigation and ensure recovery for members of the Settlement Classes.

          Moreover, the discovery cooperation that the Settling Defendants have agreed to provide

  is a substantial benefit to the classes and “strongly militates toward approval” of the settlements.

  In re Linerboard Antitrust Litig., 292 F. Supp. 2d 631, 643 (E.D. Pa. 2003). This cooperation

  will enhance and strengthen EPPs’ prosecution of claims against the Defendants who continue to

  litigate these cases. Linerboard, 292 F. Supp. 2d at 643; Packaged Ice, 2011 WL 717519, at *10

  (noting that cooperation by the settlement defendant “has already been beneficial to the Plaintiffs

  in their continued prosecution of their claims against the non-settling Defendants”); In re

  Pressure Sensitive Labelstock Antitrust Litig., 584 F. Supp. 2d 697, 702 (M.D. Pa. 2008) (“[T]he

  benefit of obtaining the cooperation of the Settling Defendants tend to offset the fact that they



                                                  12
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.5997       Page 26 of 43



  would be able to withstand a larger judgment.”). And certain of the Settling Defendants’

  agreement not to engage in certain specified conduct for a period of two years that would violate

  the antitrust laws involving the automotive parts at issue also provides value to the Settlement

  Classes.

          Settlement Class Counsel believe that the Settlements represent an excellent recovery for

  EPPs. Weighing the benefits of the Settlements against the risks of continued litigation tilts the

  scale heavily toward final approval. See Griffin, 2013 WL 6511860, at *4; Packaged Ice, 2011

  WL 717519, at *9.

          B.         The Complexity, Expense, and Likely Duration of Continued Litigation
                     Favor Final Approval.

             “Settlement should represent ‘a compromise which has been reached after the risks,

   expense and delay of further litigation have been assessed.’” Cardizem, 218 F.R.D. at 523

   (quoting Vukovich, 720 F.2d at 922). “[T]he prospect of a trial necessarily involves the risk

   that Plaintiffs would obtain little or no recovery.” Id. at 523.

          Antitrust cases are notoriously difficult and protracted, and any final adjudicated recovery

  for the classes would almost certainly be years away, given the complexity of these cases and the

  potential for appeals. Should EPPs’ claims proceed to a trial, the trial would be expensive, time-

  consuming and complex, and likely involve testimony from multiple expert witnesses. Even a

  favorable trial outcome would likely be contested on appeal. Indeed, each subsequent step in the

  litigation process would require the classes to incur additional expenses without any assurances of

  a more favorable outcome than that provided by the Settlements.

          The Court itself has had substantial opportunity to consider the claims and defenses in

  this litigation and knows that complex antitrust litigation of this scope and magnitude has many

  inherent risks that settlements extinguish. The fact that EPPs achieved very substantial


                                                  13
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                    PageID.5998   Page 27 of 43



  recoveries, which eliminate all risks of continued litigation while ensuring substantial payments

  for the benefit of the classes, supports final approval of the Settlements.

          C.         The Judgment of Experienced Counsel Who Have Evaluated the Strength of
                     the Claims, Defenses, and Risks Supports Approval.

          The Settlements were reached by experienced counsel after arm’s-length negotiations and

  their judgment and recommendation to approve the Settlements should be provided some degree

  of deference. Dick, 297 F.R.D. at 296 (“Giving substantial weight to the recommendations of

  experienced attorneys, who have engaged in arms-length settlement negotiations, is

  appropriate.”) (quoting In re Countrywide Fin. Corp. Customer Data Sec. Breach Litig., No.

  3:08-MD01998, 2010 WL 3341200, at *4 (W.D. Ky. Aug. 23, 2010)); see also In re Auto.

  Refinishing Paint Antitrust Litig., 617 F. Supp. 2d. 336, 341 (E.D. Pa. 2007).

          In deciding whether a proposed settlement warrants approval, “[t]he Court should also

  consider the judgment of counsel and the presence of good faith bargaining between the

  contending parties.” In re Delphi Corp. Sec., Deriv. & “ERISA” Litig., 248 F.R.D. 483, 498

  (E.D. Mich. 2008). Counsel’s judgment “that settlement is in the best interest of the class ‘is

  entitled to significant weight, and supports the fairness of the class settlement.’” Packaged Ice,

  2011 WL 717519, at *11 (quoting Sheick, 2010 WL 4136958, at *18). “In the absence of

  evidence of collusion (there is none here) this Court ‘should defer to the judgment of

  experienced counsel who has competently evaluated the strength of his proofs.’” Date v. Sony

  Electronics, Inc., No. 07-15474, 2013 WL 3945981, at *9 (E.D. Mich. Jul. 31, 2013) (quoting

  Vukovich, 720 F.2d at 922-23).

          Settlement Class Counsel collectively have decades of experience in litigating antitrust

  class actions and other complex litigation. Similarly, counsel for the Settling Defendants are

  well-respected and experienced antitrust lawyers. Settlement Class Counsel believe that the


                                                   14
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                     PageID.5999   Page 28 of 43



  Settlements each provide an excellent result for the classes in light of the circumstances of each

  Settling Defendant’s conduct and potential liability. See Joint Decl.

          Moreover, the discovery and available information allowed Settlement Class Counsel to

  evaluate the strengths and weaknesses of the claims and defenses and to evaluate the benefits of

  the Settlements, which favor approval of the Settlement Agreements. See Sheick, 2010 WL

  4136958 at *19. Discovery in the above-captioned cases varied, but in each settlement

  negotiation, Settlement Class Counsel learned important information about the conspiracies

  through review of documents produced to the United States Department of Justice, proffers of

  information by cooperating Defendants, and/or discovery from this litigation. The amount of

  discovery completed is a factor to be considered in the settlement approval process, but there is

  no baseline required to satisfy this factor. Packaged Ice, 2010 WL 3070161, at *5-6. The

  “question is whether the parties had adequate information about their claims.” Griffin, 2013 WL

  6511860, at *4 (quoting In re Global Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 458

  (S.D.N.Y. 2004)). The judgment of experienced counsel supports final approval of the

  Settlements.

          D.         The Reaction of Class Members Weighs in Favor of Final Approval.

          The deadline for class members to exclude themselves from the proposed Settlement

  Classes is April 11, 2016. At this point, Settlement Class Counsel have received no objections to

  any of the Settlements. The reaction to date from the members of the S ettlement Classes

  supports the adequacy of the settlements. Stoetzner v. U.S. Steel Corp., 897 F.2d 115, 118-19

  (3d Cir. 1990) (holding that objections by about 10% of class “strongly favors settlement”); see

  also TBK Partners, Ltd. v. Western Union Corp., 675 F.2d 456, 458, 462 (2d Cir. 1982)

  (approving settlement despite objections of large number of class); Taifa v. Bayh, 846 Supp.

  723, 728 (N.D. Ind. 1994) (approving class settlement despite objections from more than 10% of

                                                  15
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                   PageID.6000       Page 29 of 43



  class); Automotive Refinishing Paint, 617 F.Supp.2d at 342 (“The fact that an overwhelming

  majority of the Class did not file objections is a significant element to consider in determining

  the overall fairness of the settlements.”); In re Residential Doors Antitrust Litig., No. 94–3744,

  Civ.A. 96–2125, MDL 1039, 1998 WL 151804, at *7 (E.D. Pa. April 2, 1998) (small number of

  exclusions and absence of objections “militates strongly in favor of approval” of proposed

  settlement). The lack of a single opt-out to date speaks volumes about the adequacy of the

  Settlements.

          E.         The Settlements are Consistent with the Public Interest.

          “[T]here is a strong public interest in encouraging settlement of complex litigation and

  class action suits because they are ‘notoriously difficult and unpredictable’ and settlement

  conserves judicial resources.” Cardizem, 218 F.R.D. at 530 (quoting Granada, 962 F.2d at

  1205); see also Griffin, 2013 WL 6511860, at *5; Packaged Ice, 2011 WL 717519, at *12. In

  light of the conduct at issue and guilty pleas related to the claims here, there is no countervailing

  public interest that provides a reason to disapprove the Settlements. Griffin, 2013 WL 6511860,

  at *5. This factor also supports final approval.

          F.         The Settlement Agreements are the Result of Thorough Arm’s Length
                     Negotiations Conducted by Highly Experienced Counsel.

          There is a presumption that settlement negotiations were conducted in good faith and

  that the resulting agreement was reached without collusion unless there is contrary

  evidence. Griffin, 2013 WL 6511860, at *3; Packaged Ice, 2011 WL 717519, at *12; Int’l

  Union,, 2006 WL 1984363, at *26; Sheick, 2010 WL 4136958, at *19-20. The Settlements

  here were reached after adversarial litigation and often contentious discovery. The

  negotiations leading to the Settlements were conducted entirely at arm’s length and often took

  many months of hard bargaining to arrive at agreements. The Settlements were negotiated in


                                                     16
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.6001      Page 30 of 43



  good faith with counsel on each side zealously representing the interests of their clients.

  (See Joint Decl.).

  V.      Notice of the Settlements was Proper Under Rule 23(e) and Satisfied All Due
          Process Requirements.

          Federal Rule of Civil Procedure 23(e)(1) provides that “[t]he court must direct notice in

  a reasonable manner to all class members who would be bound by the [proposed settlement].”

  Rule 23(e) notice must contain a summary of the litigation sufficient “to apprise interested

  parties of the pendency of the settlement proposed and to afford them an opportunity to present

  their objections.” UAW, 497 F.3d at 629 (quoting Mullane v. Cent. Hanover Bank & Trust Co.,

  339 U.S. 306, 314 (1950)). For Rule 23(b)(3) actions, “the court must direct to class members

  the best notice that is practicable under the circumstances, including individual notice to all

  members who can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B). In

  addition, the notice must clearly and concisely state: (1) the nature of the action; (2) the class

  definition; (3) the class claims, issues, or defenses; (4) that a class member may enter an

  appearance through counsel; (5) that the court will exclude from the class any member who

  requests exclusion; (6) the time and manner for requesting exclusion; and (7) the binding effect

  of a class judgment on class members under Rule 23(c)(3). Fed. R. Civ. P. 23(c)(2)(B).

          The purpose of notice in a class action is to “afford members of the class due-process

  which, in the context of the Rule 23(b)(3) class action, guarantees them the opportunity to be

  excluded from the class action and not be bound by any subsequent judgment.” Peters v. Nat’l

  R.R. Passenger Corp., 966 F.2d 1483, 1486 (D.C. Cir. 1992) (citing Eisen v. Carlisle &

  Jacquelin, 417 U.S. 156, 173-74 (1974)). Due process requires that absent class members be

  provided the best notice practicable, reasonably calculated to apprise them of the pendency of

  the action, and affording them the opportunity to opt out or object. Phillips Petroleum Co. v.


                                                  17
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                   PageID.6002    Page 31 of 43



  Shutts, 472 U.S. 797, 812 (1985); see also UAW, 497 F.3d at 629 (quoting Mullane v. Cent.

  Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)). The “best notice practicable” does not

  mean actual notice, nor does it require individual mailed notice where there are no readily

  available records of class members’ individual addresses or where it is otherwise impracticable.

  Fidel v. Farley, 534 F.3d 508, 514 (6th Cir. 2008); In re Domestic Air Transp. Antitrust Litig.,

  141 F.R.D. 534, 548-53 (N.D. Ga. 1992); MANUAL          FOR   COMPLEX LITIGATION (Fourth) §

  21.311, at 288 (2004) (“MANUAL”). The mechanics of the notice process “are left to the

  discretion of the court subject only to the broad ‘reasonableness’ standard imposed by due-

  process.” Grunin v. Int’l House of Pancakes, 513 F.2d 114, 121 (8th Cir. 1975). Each class

  member need not receive actual notice for the due-process standard to be met, “so long as class

  counsel acted reasonably in selecting means likely to inform persons affected.” In re Prudential

  Sec. Inc. Ltd. P’ships Litig., 164 F.R.D. 362, 368 (S.D.N.Y. 1996).

          The class notice program here was multi-faceted rather than relying on simply one

  medium of communication. The notice program used both paid and earned media. It included

  published notice in several national publications; online media efforts through social media

  sites and search engines; and earned media efforts through press releases, television news

  coverage, and a website. See Kinsella Decl. The notice program easily satisfied the

  requirements of Rule 23 and due process. Packaged Ice, 2011 WL 717519, at *5; Sheick, 2010

  WL 4136958 at *15.

  VI.     Certification of Settlement Classes is Appropriate.

          In its preliminary approval orders, the Court found that Rule 23’s requirements were

  met and provisionally certified, for purposes of settlement only, Settlement Classes relating to

  the parties and parts covered by the Settlements. It is well established that a class may be

  certified for purposes of settlement. See, e.g., Amchem Prods., Inc. v. Windsor, 521 U.S.

                                                 18
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                   PageID.6003       Page 32 of 43



  591 (1997); Int’l Union,, 2006 WL 1984363, at *3, *18; Cardizem, 218 F.R.D. at 516-19;

  Thacker v. Chesapeake Appalachia, LLC, 259 F.R.D. 262, 266-70 (E.D. Ky. 2009). The

  Settlements meet the requirements of Rule 23(a) as well as the requirements of Rule 23(b)(2)

  and 23(b)(3) for settlement purposes.

          A.         The Settlement Classes Satisfy Rule 23(a).

          Certification of a class requires meeting the requirements of Rule 23(a) and one

  subsection of Rule 23(b). In re Whirlpool Corp. Front-Loading Washer Prods. Liab. Litig., 722

  F.3d 838, 850-51 (6th Cir. 2013); Griffin, 2013 WL 6511860, at *5; Int’l Union, 2006 WL

  1984363, at *19 (citing Sprague v. General Motors Corp., 133 F.3d 388, 397 (6th Cir. 1998)).

  Certification is appropriate under Rule 23(a) if: (1) the class is so numerous that joinder of all

  members is impracticable; (2) there are questions of law and fact common to the class; (3) the

  claims or defenses of the representative parties are typical of the claims or defenses of the class;

  and (4) the representative parties will fairly and adequately protect the interest of the class.

  Griffin, 2013 WL 6511860, at *5; Date, 2013 WL 3945981, at *3.

                     1.     The Settlement Classes Are So Numerous That It Is Impracticable To
                            Bring All Class Members Before The Court.

          No magic number is required to satisfy the numerosity requirement of Rule 23(a)(1).

  Miller v. Univ. of Cincinnati, 241 F.R.D. 285, 288 (S.D. Ohio 2006). A class representative

  need only show that joining all members of the potential class is extremely difficult or

  inconvenient. Golden v. City of Columbus, 404 F.3d 950, 965 (6th Cir. 2005). The “sheer

  number of potential litigants in a class, especially if it is more than several hundred, can be the

  only factor needed to satisfy Rule 23(a)(1).” In re Foundry Resins Antitrust Litig., 242 F.R.D.

  393, 403 (S.D. Ohio 2007) (citing Bacon v. Honda of America Mfg., Inc., 370 F.3d 565, 570

  (6th Cir. 2004)); see also In re Am. Med. Sys., Inc., 75 F.3d 1069, 1079 (6th Cir. 1996).


                                                   19
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.6004       Page 33 of 43



          Here, the Settlement Classes consist of persons and entities who, for the last ten or more

  years depending on the Settlement Agreement, purchased or leased a new motor vehicle in the

  United States not for resale that included at least one of the Settled Parts, or indirectly

  purchased one or more of the Settled Parts as a replacement part, which were manufactured or

  sold by a Settling Defendant, any current or former parent, subsidiary, or affiliate of Defendant

  or any co-conspirator of the Defendants. It is beyond dispute that during the class periods,

  thousands of persons and entities throughout the United States have purchased or leased new

  motor vehicles, not for resale, containing Settled Parts. Because of the large number of class

  members and their geographical distribution throughout the United States, joinder is not just

  highly impractical, it would be impossible.

                     2.   Common Questions of Law and Fact Exist.

          That common questions of law and fact exist is evident here. “[A]llegations concerning

  the existence, scope and efficacy of an alleged conspiracy present questions adequately

  common to class members to satisfy the commonality requirement.” In re Flat Glass Antitrust

  Litig., 191 F.R.D. 472, 478 (W.D. Pa. 1999) (citing 4 NEWBERG ON CLASS ACTIONS § 18.05-15

  (3d ed. 1992)). Thus, in price fixing cases, courts “have consistently held that the very nature of

  a conspiracy in an antitrust action compels a finding that common questions of law and fact

  exist.” In re Dynamic Random Access Memory (DRAM) Antitrust Litig., No. M 02-1486 PJH,

  2006 U.S. Dist. LEXIS 39841 (N.D. Cal. June 5, 2006); see also NEWBERG § 3:10 at 278 (“[In

  an] antitrust action on behalf of purchasers who have bought defendants’ products at prices that

  have been maintained above competitive levels by unlawful conduct, the courts have held that

  the existence of an alleged conspiracy or monopoly is a common issue that will satisfy the Rule

  23(a)(2) prerequisite”).



                                                  20
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                    PageID.6005       Page 34 of 43



          Here, EPPs have identified the following issues common within each of the Settlement

  Classes:

         Whether Defendants engaged in combinations and conspiracies among themselves to
          fix, raise, maintain, or stabilize the prices of the Settled Parts sold in the United States;
         Whether Defendants engaged in combinations and conspiracies among themselves to rig
          bids quoted to customers of the Settled Parts sold in the United States;
         Whether Defendants engaged in combinations and conspiracies to allocate customers
          and the markets for the Settled Parts sold in the United States;
         The duration of the illegal contracts, combinations, and/or conspiracies;
         Whether Defendants’ conduct resulted in unlawful overcharges on the prices of the
          Settled Parts; and
         Whether unlawful overcharges on the price of the Settled Parts were passed-through to
          the indirect purchasers of the Settled Parts, and if so, the appropriate measure of
          damages.
          Any one of these substantive issues would, standing alone, establish the requisite

  commonality under Rule 23(a)(2). See, e.g., Packaged Ice, 2011 WL 717519, at *6 (holding

  that the commonality was satisfied by questions concerning “whether Defendants conspired to

  allocate territories and customers and whether their unlawful conduct caused Packaged Ice

  prices to be higher than they would have been absent such illegal behavior and whether the

  conduct caused injury to the Class Members”). “Indeed, consideration of the conspiracy issue

  would, of necessity, focus on defendants’ conduct, not the individual conduct of the putative

  class members.” Flat Glass, 191 F.R.D. at 484.

                     3.   EPPs’ Claims are Typical of Those of the Settlement Classes.

          Rule 23(a)(3) requires that “the claims or defenses of the representative parties are

  typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “In the antitrust

  context, typicality is established when the named plaintiffs and all class members allege[] the

  same antitrust violation by defendants.” Cason-Merenda v. VHS of Mich., Inc., 296 F.R.D. 528,

  537 (E.D. Mich. 2013) (quoting In re Foundry Resins Antitrust Litig., 242 F.R.D. at 405); see


                                                   21
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.6006       Page 35 of 43



  also Stout v. J.D. Byrider, 228 F.3d 709, 717 (6th Cir. 2000); In re Am. Med. Sys., 75 F.3d at

  1082; Packaged Ice, 2011 U.S. Dist. LEXIS 17255 at *40-41. “If there is a strong similarity of

  legal theories, the requirement [of typicality] is met, even if there are factual distinctions

  among named and absent class members.” Griffin, 2013 WL 6511860, at *6 (quoting Int’l

  Union, 2006 WL 1984363, at * 19); Date, 2013 WL 3945981, at *3.

          Because the EPP class representatives and the members of the Settlement Classes were

  all alleged victims of the conspiracies to fix prices, rig bids, and allocate the market and

  customers for the automotive parts at issue in the Settlement Agreements, and seek the same

  relief, Rule 23(a)(3) is satisfied. See Cason-Merenda, 296 F.R.D. at 537 (finding typicality met

  where “the claims of the named Plaintiffs and those of the remaining members of the proposed

  class all arise from the same conspiracy and are based on the same theory of liability under the

  Sherman Act.”) (internal quotation marks and citation omitted)); Packaged Ice, 2011 U.S. Dist.

  LEXIS 17255 at *40-41 (“Because all Class Members’ claims arise from . . . a conspiracy to

  allocate markets in violation of the Sherman Act, their claims are based on the same legal theory

  and the typicality requirement . . . is met”).

                     4.   EPP Class Representatives and Their Counsel Have Fairly and
                          Adequately Represented the Interests of the Class Members.

          The final requirement of Rule 23(a) is that the representative parties “fairly and

  adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The Sixth Circuit has

  articulated two criteria for determining adequacy of representation: “‘1) [t]he representative must

  have common interests with unnamed members of the class, and 2) it must appear that the

  representatives will vigorously prosecute the interests of the class through qualified counsel.’” In

  re Foundry Resins Antitrust Litig., 242 F.R.D. at 407 (quoting Senter v. Gen. Motors Corp., 532

  F.2d 511, 525 (6th Cir. 1976)).


                                                   22
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.6007       Page 36 of 43



          There are no conflicts between EPPs and the Settlement Classes because EPPs and

  members of the Settlement Classes: purchased or leased in the United States new motor vehicles,

  not for resale, containing the Settled Parts and/or purchased Settled Parts as a stand-alone

  replacement product have the same interest in establishing liability. See In re Corrugated

  Container Antitrust Litig., 643 F.2d 195, 208 (5th Cir. 1981) (certifying settlement class and

  holding that “so long as all class members are united in asserting a common right, such as

  achieving the maximum possible recovery for the class, the class interests are not antagonistic

  for representation purposes” (internal quotation marks and citation omitted)). EPPs and the

  members of the Settlement Classes also share a common interest in obtaining Settling

  Defendants’ early and substantial cooperation in prosecuting the claims against the non-Settling

  Defendants as well as the equitable relief obtained against certain of the Settling Defendants.

          Rule 23(g) requires the court to examine the capabilities and resources of class counsel

  to determine whether they will provide adequate representation to the class. The Settlement

  Classes are represented by counsel with extensive experience in antitrust and class action

  litigation. They have vigorously prosecuted the classes’ claims, and they will continue to do so

  through all phases of the litigation, including trial. See Marcus v. Dep’t of Revenue, 206 F.R.D.

  509, 512 (D. Kan. 2002) (“In absence of evidence to the contrary, courts will presume the

  proposed class counsel is adequately competent to conduct the proposed litigation”). The Court

  appointed Cotchett, Pitre & McCarthy, LLP, Robins Kaplan LLP, and Susman Godfrey L.L.P.

  as Interim Co-Lead Class Counsel on behalf of EPPs in these actions and the other automotive

  parts antitrust cases within Master File No. 2:12-md-2311. See Case Management Order No. 3

  filed as ECF No. 271. The Court also appointed these same firms as Settlement Class Counsel

  in each of the orders preliminarily approving the Settlement Agreements. See supra note 1. For



                                                  23
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.6008      Page 37 of 43



  the same reasons that the Court appointed them to these positions, it should appoint them

  Settlement Class Counsel here.

          B.         EPPs’ Claims Satisfy the Prerequisites of Rule 23(b)(3) for Settlement
                     Purposes.

          To qualify for certification under Rule 23(b)(3), a class must meet two requirements

  beyond the Rule 23(a) prerequisites: common questions must predominate over any questions

  affecting only individual members and class resolution must be superior to other available

  methods for the fair and efficient adjudication of the controversy. Amchem, 521 U.S. at 615; see

  also In re Scrap Metal Antitrust Litig., 527 F.3d 517, 535 (6th Cir. 2008). With respect to both

  requirements, the Court need not inquire whether the “case, if tried, would present intractable

  management problems, for the proposal is that there be no trial.” Amchem, 521 U.S. at 620

  (internal citations omitted).

                     1.     Common Legal and Factual Questions Predominate.

          The Rule 23(b)(3) requirement that common issues predominate ensures that a

  proposed class is “sufficiently cohesive to warrant certification.” Amchem, 521 U.S. at 623.

  The predominance requirement is met where “the issues in the class action that are subject to

  generalized proof, and thus applicable to the class as a whole, . . . predominate over those

  issues that are subject only to individualized proof.” Beanie v. CenturyTel, Inc., 511 F.3d 554,

  564 (6th Cir. 2007) (citation omitted). “Rule 23(b)(3) does not mandate that a plaintiff seeking

  class certification prove that each element of the claim is susceptible to classwide proof.” In re

  Whirlpool Corp., 722 F.3d at 859. Instead, “‘[a] claim will meet the predominance requirement

  when there exists generalized evidence which proves or disproves an element on a simultaneous,

  class-wide basis, since such proof obviates the need to examine each class member’s




                                                   24
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.6009      Page 38 of 43



  individualized position.’” In re Foundry Resins Antitrust Litig., 242 F.R.D. at 408 (quoting In re

  Cardizem CD Antitrust Litig., 200 F.R.D. 297, 307 (E.D. Mich. 2001)).

          Common questions need only predominate; they need not be dispositive of the litigation.

  Id. (citing In re Potash Antitrust Litig., 159 F.R.D. 682, 693 (D. Minn. 1995)); cf. In re Scrap

  Metal Antitrust Litig., 527 F.3d at 535-36 (holding issues regarding the amount of damages do

  not destroy predominance). “[T]he mere fact that questions peculiar to each individual member

  of the class action remain after the common questions of the defendant’s liability have been

  resolved does not dictate the conclusion that a class action is impermissible.” Cason-Merenda,

  296 F.R.D. at 535 (quoting Powers v. Hamilton Cnty. Public Defender Comm., 501 F.3d 595,

  619 (6th Cir. 2007)). The Supreme Court very recently instructed that “Rule 23(b)(3) requires a

  showing that questions common to the class predominate, not that those questions will be

  answered, on the merits, in favor of the class.” Amgen Inc. v. Conn. Ret. Plans and Tr. Funds,

  133 S.Ct. 1184, 1191 (2013).5

          Horizontal price-fixing cases are particularly well-suited for class certification because

  proof of the conspiracy presents a common, predominating question. Scrap Metal, 527 F.3d at

  535; Packaged Ice, 2011 WL 717519, at *6; In re Southeastern Milk Antitrust Litig., No. 2:08-




  5
    The Supreme Court’s decision in Comcast Corp. v. Behrend, 133 S.Ct. 1426 (2013), supports
  the appropriateness of class certification under Rule 23(b)(3) here. In Comcast, the Supreme
  Court found that the plaintiffs failed to establish that damages could be measured on a class-wide
  basis because only one of the plaintiffs’ four theories of antitrust impact could be proved in a
  manner common to the class. 133 S.Ct. at 1429-31. Under Comcast, plaintiffs must be able to
  show that their damages stemmed from the defendant’s actions that created the legal liability.
  See Levya v. Medline Indus, Inc., 716 F.3d 510 (9th Cir. 2013). Here, all of the Settlement
  Classes’ claimed damages—the overcharge suffered as a result of inflated prices for the settled
  parts—stem from the Defendants’ alleged price-fixing conspiracies.


                                                  25
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                  PageID.6010      Page 39 of 43



  md-1000, 2010 WL 3521747, at *5, 9-11 (E.D. Tenn. Sept. 7, 2010).6 Affirming class

  certification in Scrap Metal, the Sixth Circuit observed that the “district court found that the

  ‘allegations of price-fixing and market allocation . . . will not vary among class members’

  . . . Accordingly, the court found that the ‘fact of damages’ was a question common to the

  class even if the amount of damages sustained by each individual class member varied.”

  527 F.3d at 535 (emphasis in original).

          Here, the same set of core operative facts and theory of liability apply to claims against

  each of the Settling Defendants. Whether the Settling Defendants entered into illegal

  agreements to artificially fix prices of the automotive parts at issue in the Settlement

  Agreements is a question common to all members of the Settlement Classes because it is an

  essential element of proving an antitrust violation. Common questions also include whether, if

  such an agreement was reached, Settling Defendants violated the antitrust laws, and whether

  Settling Defendants’ acts caused anticompetitive effects. See, e.g., Packaged Ice, 2011 WL

  717519, at *6. If EPPs and the other Settlement Class members brought individual actions, they

  would each be required to prove the same claims in order to establish liability. For settlement

  purposes, common issues predominate.

                     2.   Class Action Settlements Are Superior to Other Methods of
                          Adjudication.

          Rule 23(b)(3) lists factors to be considered in determining the superiority of proceeding

  as a class action compared to individual methods of adjudication: (1) the interests of the

  6
    This is true even if there are individual state law issues, as long as the common issues still
  outweigh the individual ones, e.g., as long as a common theory can be alleged as to liability and
  impact that can be pursued by the class. See, e.g., In re Whirlpool Corp., 722 F.3d at 861 (“[I]t
  remains the ‘black letter rule’ that a class may obtain certification under Rule 23(b)(3) when
  liability questions common to the class predominate over damages questions unique to class
  members.” (internal quotation marks and citation omitted)); Scrap Metal, 527 F.3d at 535 (where
  common issues determine liability, fact that damages calculation may involve individualized
  issues does not defeat predominance).

                                                  26
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                     PageID.6011     Page 40 of 43



  members of the class in individually controlling the prosecution of separate actions; (2) the

  extent and nature of other pending litigation about the controversy by members of the class;

  (3) the desirability of concentrating the litigation in a particular forum; and (4) the difficulties

  likely to be encountered in management of the class action. Fed. R. Civ. P. 23(b)(3).

          The Auto Parts litigation has been centralized in this Court and to date no member of a

  Settlement Class has requested exclusion from the Settlements. Thus, consideration of factors

  (1) - (3) demonstrates the superiority of these Settlement Classes. The fourth factor is not

  relevant in a settlement-only class because the potential difficulties in managing a trial of the

  case is extinguished by the settlement. Amchem, 521 U.S. at 620; Cardizem, 218 F.R.D. at 517.

          In addition, “[g]iven the complexities of antitrust litigation, it is not obvious that all

  members of the class could economically bring suits on their own.” In re Cardizem CD Antitrust

  Litig, 200 F.R.D. at 325 (quoting Paper Systems Inc. v. Mitsubishi Corp., 193 F.R.D. 601, 605

  (ED. Wis. 2000)). Proceeding as a class action will conserve judicial and private resources and

  will provide a single outcome that is binding on all Settlement Class members. Cardizem, 200

  F.R.D. at 351. The alternatives to these Settlements are a multiplicity of separate lawsuits or no

  recourse for many class members for whom the cost of pursuing individual litigation would be

  prohibitive. See In re Flonase Antitrust Litig., 284 F.R.D. 207, 234 (E.D. Pa. 2012); In re

  NASDAQ Market-Makers Antitrust Litig., 169 F.R.D. 493, 527 (S.D.N.Y 1996). The certification

  of Settlement Classes is superior to the alternatives in this litigation.

                                               Conclusion

          For the foregoing reasons, EPPs respectfully request that the Court grant final approval of

  the Settlements and grant final certification of the Settlement Classes for purposes of settlement.




                                                    27
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16      PageID.6012       Page 41 of 43



  Date: March 10, 2016               Respectfully submitted,

                                     By: /s/_Devon P. Allard       _______
                                     E. Powell Miller
                                     Devon P. Allard
                                     THE MILLER LAW FIRM, P.C.
                                     950 W. University Dr., Ste. 300
                                     Rochester, Michigan 48307
                                     Telephone: (248) 841-2200
                                     Facsimile: (248) 652-2852
                                     epm@millerlawpc.com
                                     dpa@@millerlawpc.com

                                     Interim Liaison Counsel for the Proposed End-
                                     Payor Plaintiff Classes

                                     Steven N. Williams
                                     Demetrius X. Lambrinos
                                     Elizabeth Tran
                                     COTCHETT, PITRE & McCARTHY, LLP
                                     San Francisco Airport Office Center
                                     840 Malcolm Road, Suite 200
                                     Burlingame, CA 94010
                                     Telephone: (650) 697-6000
                                     Facsimile: (650) 697-0577
                                     swilliams@cpmlegal.com
                                     dlambrinos@cpmlegal.com
                                     etran@cpmlegal.com


                                     Hollis Salzman
                                     Bernard Persky
                                     William V. Reiss
                                     ROBINS KAPLAN LLP
                                     601 Lexington Avenue, Suite 3400
                                     New York, NY 10022
                                     Telephone: (212) 980-7400
                                     Facsimile: (212) 980-7499
                                     hsalzman@robinskaplan.com
                                     bpersky@robinskaplan.com
                                     wreiss@robinskaplan.com


                                     Marc M. Seltzer
                                     Steven G. Sklaver
                                     SUSMAN GODFREY L.L.P.
                                     1901 Avenue of the Stars, Suite 950
                                     Los Angeles, CA 90067-6029
                                     Telephone: (310) 789-3100
                                     Facsimile: (310) 789-3150
                                     mseltzer@susmangodfrey.com
                                     ssklaver@susmangodfrey.com

                                     Terrell W. Oxford

                                       28
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16      PageID.6013   Page 42 of 43



                                     Omar Ochoa
                                     SUSMAN GODFREY L.L.P.
                                     901 Main Street, Suite 5100
                                     Dallas, TX 75202
                                     Telephone: (214) 754-1900
                                     Facsimile: (214)754-1933
                                     toxford@susmangodfrey.com
                                     oochoa@susmangodfrey.com

                                     Chanler A. Langham
                                     SUSMAN GODFREY L.L.P.
                                     1000 Louisiana Street, Suite 5100
                                     Houston, Texas 77002
                                     Telephone: (713) 651-9366
                                     Facsimile: (713) 651-6666
                                     clangham@susmangodfrey.com
                                     Interim Co-Lead Class Counsel for the Proposed
                                     End-Payor Plaintiff Classes




                                       29
  4184377v1/013283
Case 2:12-cv-00403-SFC-RSW ECF No. 161 filed 03/10/16                   PageID.6014     Page 43 of 43



                                   CERTIFICATE OF SERVICE

         I hereby certify that on March 10, 2016, I electronically filed the foregoing documents

  with the Clerk of the Court using the ECF system, which will send electronic notification of such

  filings upon all registered counsel of record.




                                                   THE MILLER LAW FIRM, P.C.

                                                   By: /s/ Devon P. Allard
                                                   E. Powell Miller (P39487)
                                                   Devon P. Allard (P71712)
                                                   THE MILLER LAW FIRM, P.C.
                                                   950 W. University Drive
                                                   Suite 300
                                                   Rochester, MI 48307
                                                   Telephone: (248) 841-2200
                                                   Facsimile: (248) 652-2852
                                                   epm@millerlawpc.com
                                                   dpa@millerlawpc.com

                                                   Interim Liaison Counsel for End-Payor Plaintiffs
